Case 3:19-cv-05721-MAS-ZNQ Document1 Filed 02/14/19 Page 1 of 10 PagelD: 1

JS 44 (Rev. 06/17)

CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

 

I. (a) PLAINTIFFS DEFENDANTS
HECTOR MAURICIO SOC GAMBOA JONATHAN BING, JR., RIDERS WORTH INTERNATIONAL, and
John Does I-V and John Does VI-X
(b) County of Residence of First Listed Plaintiff Montgomery Co., MD County of Residence of First Listed Defendant
(EXCEPT IN U.S. PLAINTIFF CASES) (IN U.S. PLAINTIFF CASES ONLY)

NOTE: INLAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

(c) Attorneys (Firm Name, Address, and Telephone Number) Attorneys (/f Known)

Kevin S. Riechelson, Esq., Kamensky, Cohen & Riechelson, 194 South
Broad St., Trenton, NJ 08608

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

VI. CAUSE OF ACTION

 

If. BASIS OF JURISDICTION (Place an “x” in One Box Only) Il. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “x” in One Box for Plaintiff
(For Diversity Cases Only) and One Box for Defendant)
G1 U.S. Government OG 3. Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State a1 © 1 Incorporated or Principal Place o4 04
of Business In This State
O 2 U.S. Government 4 Diversity Citizen of Another State (& 2. & 2 Incorporated and Principal Place os ms
Defendant (Indicate Citizenship of Parties in Item HID of Business In Another State
Citizen or Subject of a oO 3 GC 3 Foreign Nation o6 o6
Foreign Country
IV; NATURE OF SUIT (Place an “X” in One Box Only) Click here for: Nature of Suit Code Descriptions.
Ll __ CONTRACT TORTS FORREITURE/PENALTY. BANKRUPTCY. OTHER STATUTES ]
J 110 Insurance PERSONAL INJURY PERSONAL INJURY [0 625 Drug Related Seizure 0 422 Appeal 28 USC 158 © 375 False Claims Act
120 Marine © 310 Airplane @ 365 Personal Injury - of Property 21 USC 881 |0 423 Withdrawal 376 Qui Tam (31 USC
0 130 Miller Act 0 315 Airplane Product Product Liability © 690 Other 28 USC 157 3729(a))
0 140 Negotiable Instrument Liability 0 367 Health Care/ 0 400 State Reapportionment
C1 150 Recovery of Overpayment | 320 Assault, Libel & Pharmaceutical PROPERTY RIGHTS O 410 Antitrust
& Enforcement of Judgment Slander Personal Injury OC 820 Copyrights G 430 Banks and Banking
O 151 Medicare Act CO 330 Federal Employers’ Product Liability OC 830 Patent G 450 Commerce
© 152 Recovery of Defaulted Liability 1 368 Asbestos Personal CO 835 Patent - Abbreviated C 460 Deportation
Student Loans CO 340 Marine Injury Product New Drug Application |C 470 Racketeer Influenced and
_ (Excludes Veterans) ©) 345 Marine Product Liability C1 840 Trademark Corrupt Organizations
O 153 Recovery of Overpayment Liability PERSONAL PROPERTY LABOR SOCIAL SECURITY. © 480 Consumer Credit
of Veteran’s Benefits © 350 Motor Vehicle 0 370 Other Fraud O 710 Fair Labor Standards GC 861 HIA (1395ff) 1 490 Cable/Sat TV
© 160 Stockholders’ Suits Q& 355 Motor Vehicle O 371 Truth in Lending Act CI 862 Black Lung (923) 0 850 Securities/Commodities/
© 190 Other Contract Product Liability 1 380 Other Personal G 720 Labor/Management 863 DIWC/DIWW (405(g)) Exchange
195 Contract Product Liability | 360 Other Personal Property Damage Relations C1 864 SSID Title XVI ( 890 Other Statutory Actions
196 Franchise Injury C 385 Property Damage © 740 Railway Labor Act 0) 865 RSI (405(g)) O 891 Agricultural Acts
© 362 Personal Injury - Product Liability O 75] Family and Medical O 893 Environmental Matters
Medical Malpractice Leave Act O 895 Freedom of Information
[ REAL PROPERTY CIYIL RIGHTS PRISONER PETILIONS [0 790 Other Labor Litigation FEDERAL TAX SUITS Act
O 210 Land Condemnation O 440 Other Civil Rights Habeas Corpus: {J 791 Employee Retirement O 870 Taxes (U.S, Plaintiff G 896 Arbitration
O 220 Foreclosure OC 441 Voting 0 463 Alien Detainee Income Security Act or Defendant) O 899 Administrative Procedure
O 230 Rent Lease & Ejectment 0 442 Employment O 510 Motions to Vacate O 871 IRS—Third Party Act/Review or Appeal of
0 240 Torts to Land G 443 Housing/ Sentence 26 USC 7609 Agency Decision
O 245 Tort Product Liability Accommodations O 530 General O 950 Constitutionality of
CO 290 All Other Real Property OC) 445 Amer. w/Disabilities -] 0 535 Death Penalty IMMIGRATION State Statutes
. Employment Other: O 462 Naturalization Application
0 446 Amer. w/Disabilities -] 540 Mandamus & Other |() 465 Other Immigration
Other O 550 Civil Rights Actions
© 448 Education O 555 Prison Condition
1 560 Civil Detainee -
Conditions of
Confinement
V. ORIGIN (Place an “X” in One Box Only)
M1 Original (12 Removed from O 3  Remanded from C14 Reinstated or © 5 Transferred from © 6 Multidistrict O 8 Multidistrict
Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -

(specify) Transfer Direct File

Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
28 U.S.C. Section 1332(a)(1)
Brief description of cause:

 

 

 

 

 

Motor Vehicle
VII. REQUESTED IN C1 CHECK IF THIS IS A CLASS ACTION “DEMANDS 7. @¥%@QJJ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. Ol gucby tO | | SURYDEMAND: — Yes No
VII. RELATED CASE(S) } he leo
IF ANY (See instruction) ce DOCKET NUMBER
DATE SIGNATU F ATTORNEY‘OF RECO; A
02/14/2019 7 N— Z :
FOR OFFICE USE ONLY / ,

RECEIPT # AMOUNT APPLYING IFP JUDGE MAG, JUDGE
Case 3:19-cv-05721-MAS-ZNQ Document1 Filed 02/14/19 Page 2 of 10 PagelD: 2

AO 440 (Rev. 12/09) Summons in a Civil Action

 

UNITED STATES DISTRICT COURT

for the
District of New Jersey [~]

HECTOR MAURICIO SOC GAMBOA

 

Plaintiff

v. Civil Action No.
JONATHAN BING, JR., RIDERS WORTH
INTERNATIONAL, John Does I-V, JOHN DOES VI-X

 

ee ed

Defendant

SUMMONS IN A CIVIL ACTION

JONATHAN BING, JR.
602 Riverside Avenue
Trenton, New Jersey 08618

To: (Defendant’s name and address)

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:

Kevin S. Riechelson, Esq.
Kamensky, Cohen & Riechelson
194 South Broad Street
Trenton, New Jersye 08618
(609) 394-8585

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date:

 

Signature of Clerk or Deputy Clerk
Case 3:19-cv-05721-MAS-ZNQ Document1 Filed 02/14/19 Page 3 of 10 PagelD: 3

AO 440 (Rev. 12/09) Summons in a Civil Action (Page 2)

Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (1)

This summons for (name of individual and title, if any)

 

was received by me on (date)

[1 I personally served the summons on the individual at (place)

 

on (date) ; or

 

OI left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

 

on (date) , and mailed a copy to the individual’s last known address; or

C] I served the summons on (name of individual) , who is

 

designated by law to accept service of process on behalf of (name of organization)

 

 

 

on (date) ; or
C1 J returned the summons unexecuted because 3 or
C1 Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

 

Server's signature

 

Printed name and title

 

Server's address

Additional information regarding attempted service, etc:
Case 3:19-cv-05721-MAS-ZNQ Document1 Filed 02/14/19 Page 4 of 10 PagelD: 4

AO 440 (Rev. 12/09) Summons in a Civil Action

 

UNITED STATES DISTRICT COURT

for the
District of New Jersey

HECTOR MAURICIO SOC GAMBOA

 

Plaintiff

Vv. Civil Action No.
JONATHAN BING, JR., RIDERS WORTH
INTERNATIONAL, John Does I-V, JOHN DOES VI-X

 

Defendant

SUMMONS IN A CIVIL ACTION

Riders Worth International
1362 Edgehill Road
Darby, PA 19023

To: (Defendant’s name and address)

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P, 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are:

Kevin S. Riechelson, Esq.
Kamensky, Cohen & Riechelson
194 South Broad Street
Trenton, New Jersye 08618
(609) 394-8585

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date:

 

Signature of Clerk or Deputy Clerk
Case 3:19-cv-05721-MAS-ZNQ Document1 Filed 02/14/19 Page 5 of 10 PagelD: 5

AO 440 (Rev. 12/09) Summons in a Civil Action (Page 2)

Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (I)

This summons for (name of individual and title, if any)

 

was received by me on (date)

C1 I personally served the summons on the individual at (place)

 

on (date) ; or

 

C1 I left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

 

on (date) , and mailed a copy to the individual’s last known address; or

1 Iserved the summons on (name of individual) , who is

 

designated by law to accept service of process on behalf of (name of organization)

 

 

 

on (date) ; or
f1 I returned the summons unexecuted because ; or
1 Other (specifi):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

 

Server’s signature

 

Printed name and title

 

Server’s address

Additional information regarding attempted service, etc:
Case 3:19-cv-05721-MAS-ZNQ Document1 Filed 02/14/19 Page 6 of 10 PagelD: 6

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

 

 

 

 

 

HECTOR MAURICIO SOC GA
U GAMBOA CIVIL ACTION NO:
Plaintiff, JUDGE:
vs.
JONATHAN BING, JR., RIDERS
WORTH INTERNATIONAL and John
Does I-V and JOHN DOES VI-X
Defendant,
COMPLAINT

THE PARTIES

1. Plaintiff, Hector Mauricio Soc Gamboa, is an adult individual, who at all times material
hereto, lived at 611 Thayer Avenue, Silver Springs, Maryland.

2. Defendant, Jonathan Bing, Jr., is an adult individual, who at all times material hereto,
lived at 602 Riverside Avenue, Trenton, New Jersey.

3. Defendant, Riders Worth International, is a company, corporation or other business
entity, who at all times material hereto was located at 1362 Edgehill Road, Darby, PA
19023.

4. Defendants John Does I-V are adult individuals, whose identities are unknown, who are
alleged to be the operators of a vehicle that was involved in the within accident and are
believed to be citizens of either Pennsylvania or New Jersey.

5. Defendants John Does VI-XI are companies, corporations or other business entities, who
at all times material hereto, are alleged to be the owners of a vehicle that was involved in

the within accident and are believed to be citizens of either Pennsylvania or New Jersey.
Case 3:19-cv-05721-MAS-ZNQ Document1 Filed 02/14/19 Page 7 of 10 PagelD: 7

10.

11.

12.

FEDERAL JURISDICATION AND VENUE

Federal jurisdiction is based upon diversity of citizenship, 28 U.S.C. Section 1332(a)(1)
in that the Plaintiff is a citizen of Maryland, and defendants are believed to be citizens of
Pennsylvania and/or New Jersey.

Venue is based upon 28 U.S.C. Section 1391(d), as the accident that is the subject of
plaintiffs’ Complaint occurred within this judicial district.

The Plaintiffs' damages exceed the minimum jurisdictional amount required ($75,000),

and also exceed the arbitration limit ($150,000), and a jury trial is demanded.

FACTS COMMON TO ALL DEFENDANTS

 

On or about November 20, 2017, the Plaintiff was operating his vehicle on East State
Street, at or near the intersection with North Olden Avenue.

Upon information and belief, defendant, Jonathan Bing, Jr. was the operator of a vehicle
traveling on East State Street near the intersection with North Olden Avenue.

Upon information and belief, defendant, Jonathan Bing was operating the vehicle as an
employee, agent, servant or workman of defendant, Riders Worth International and/or
John Does VI-X, and was acting within the course and scope of his employment at the
time of said accident.

Upon information and belief, defendants, John Does I-V, were employees, agents,
servants and workmen and/or the owners and/or drivers of the Hyundai Elantra that was
caused in the accident involved hereon on November 20, 2017 and was operating the
vehicle as an employee, agent, servant or workman of defendant, Riders Worth
International and/or John Does VI-X, and was acting within the course and scope of his

employment at the time of said accident.
Case 3:19-cv-05721-MAS-ZNQ Document1 Filed 02/14/19 Page 8 of 10 PagelD: 8

13.

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19.

On November 20, 2017, defendants, Jonathan Bing, Jr. and/or John Does I-V were
operating a vehicle behind the vehicle operated by plaintiff, when suddenly and without
warning, defendant struck the rear of plaintiff's vehicle. The impact caused plaintiff's
vehicle to cross the roadway and end up on the other side.

After the accident, Jonathan Bing, Jr. and/or John Does I-V fled the scene of the accident,
but was identified by police as the driver based on surveillance video of the accident
scene.

As a result of the impact between defendant(s) vehicle to the rear end of plaintiff’ s
vehicle, plaintiff was injured.

As a result of the accident, plaintiff was required to incur medical bills in excess of
$158,000, which medical bills exceed the amount of PIP coverage available to plaintiff
and remain outstanding.

As aresult of the accident, plaintiff was caused injury, substantial pain and suffering and

loss of life’s pleasures.

COUNT ONE — NEGLIGENCE- JONATHAN BING, JR. AND JOHN DOES I-V

Plaintiff repeats the allegations set forth in paragraphs 1 through 17 as if repeated herein
at length.

The aforesaid motor vehicle collision was caused by the carelessness and negligence of

the defendants in the following manner:

(a) operation of the Defendants’ motor vehicle at a high and excessive rate of speed
under the circumstances;
(b) failure to operate the vehicle safely;

(c) failure to have Defendants’ motor vehicle under proper and adequate control

under the circumstances;
Case 3:19-cv-05721-MAS-ZNQ Document 1 Filed 02/14/19 Page 9 of 10 PagelD: 9

(d) failing to make a proper observation of vehicles in front of defendants’ vehicle;

(e) failure to have due regard for the point and position of said motor vehicle
containing the Plaintiff;

(f) violation of the statutes of the State of New Jersey and local ordinances;

(g) otherwise failing to exercise due care under the circumstances;

(h) such other acts of carelessness and negligence as will appear in the course of
discovery to be conducted pursuant to the Federal Rules of Civil Procedure at the
time of trial in this case;

20. Asaresult of the defendants’ negligence and carelessness, plaintiff sustained injuries in
and about his body and extremities, which injuries are or may be serious, severe and
permanent as well as mental anguish; has been and may continue to be prevented from
attending to Plaintiff's usual activities, duties, and occupations; and have incurred and
may continue to incur various medical expenses in and about an effort to cure Plaintiff of
the aforesaid injuries.

21. As a result of the defendants’ negligence and carelessness, plaintiff has incurred out of
pocket medical bills, co-pays and deductibles due to the injuries sustained and medical
treatment required. Plaintiff also has outstanding medical bills in excess of $158,000

related to this accident.

WHEREFORE, plaintiff demands judgment against the Defendants for compensatory
damages in an amount in excess of the arbitration limits of this Court, together with interest and

costs of suit.
Case 3:19-cv-05721-MAS-ZNQ Document1 Filed 02/14/19 Page 10 of 10 PagelD: 10

COUNT TWO — VICARIOUS LIABILITY — RIDERS WORTH INTERNATIONAL AND

22.

23.

24.

25.

JOHN DOES VI-X

Plaintiff repeats the allegations set forth in paragraphs 1 through 21 as if repeated herein
at length. ,

At the time of the accident involved herein, defendant, Jonathan Bing, Jr. and/r John
Does VI-X, were employees, agents, servants, workmen operating the vehicle involved in
this accident in the course and scope of his employment with defendants, Riders Worth
International and/or John Does VI-X.

Jonathan Bing, Jr. was negligent in the operation of said vehicle while acting within the
course and scope of his employment and/or agency.

Defendants, Riders Worth International and/or Joh Does VI-X, is/are vicariously liable
for the negligent acts and/or omissions of their employee, agent servant or workman,

Jonathan Bing, Jr. and/or John Does I-V.

WHEREFORE, plaintiff demands judgment against the Defendants for compensatory

damages in an amount in excess of the arbitration limits of this Court, together with interest and

costs of suit.

KAMENSKY @ COHEN & RIECHELSON
Attorneys for Plaintiff

By: (f- Rubs

KEVIN S. RIECHELSON, ESQUIRE

 

Dated: Febery 1.2019 194 S. Broad St.

Trenton, NJ 08608

(609) 394-8585/609-394-8620 (fax)
kriechelson@kcrlawfirm.com
Attorneys for the Plaintiff
